Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 1 of 6 PageID #: 371
Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 2 of 6 PageID #: 372
Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 3 of 6 PageID #: 373
Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 4 of 6 PageID #: 374
Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 5 of 6 PageID #: 375
Case 1:05-cr-00623-DLI   Document 154   Filed 12/14/07   Page 6 of 6 PageID #: 376
